Case 4:17-cv-01520 Document 1 Filed in TXSD on 05/17/17 Page 1 of 5

lN THE UNITED STATES DlSTRlCT COURT
FOR THE SOUTHERN DlSTR|CT OF TEXAS
HOUSTON D|\/|SlON

l-|OLLlE ARNOLD
Plaintiff,

v. CiVIL ACT|ON NO.

STATE FARl\/i LLOYDS
Defendant.

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NoTlcE oF REMovAL

 

PLEASE TAKE NOT|CE that Defendant, State Farm L|oyds, hereby removes

to this Court, the State Court action described below.
Procedural Bacquoungl anmrtie_s

1. On or about February 8, 2017, Hollie Arnold Plaintiff’s Origina| Petition
in Cause No. 17-02-01756 in the 410th Judicia| District Court of l\/lontgomery County,
'l'exas, initiating an action identifying State Farm Lloyds as the Defendant.

2. State Farm Lloyds received the Citation and Plaintiff’s Original Petition on
or about April 21, 2017. Defendant State Farm Lloyds filed an Original Answer and
Request for Jury Trial, and is filing a Notice of Remova| of Civi| Action in the State Court

action.

3. At the time this action Was commenced, P|aintiff Was, and still is, a citizen
of Texas. l-lollie Arnold is an individual residing in l\/|ontgomery County, Texas; and,

thus, is a citizen of Texas.

 

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Case 4:17-cv-0152O Document 1 Filed in TXSD on 05/17/17 Page 2 015

4. Defendant State Farm Was at the time this action Was commenced, land
still is, a citizen of i|iinois. State Farm is a "t.ioyd's Plan" organized under chapter 941 of
the Texas insurance Code. lt consists of an unincorporated association of underwriters
Who Were at the time this action Was commenced, and still are, ali citizens and residents
of illinois and Arizona, thereby making State Farm L|oyds a citizen of illinois and
Arizona for diversity purposes. See Royai ins. Co. of Am. v. Quinn-L Capitai Corp., 3
F.3d 877, 882-83 (5th Cir, 1993) (citizenship of unincorporated association determined
by citizenship of members). Therefore, complete diversity of citizenship exists between

Plaintiff and Defendant State Farm.

Nature of the Suit
5. in her Original Petition, P|aintiff alieges multiple ciaims and causes of
action against State Farm L|oyds including breach of contract, violations of Texas
Deceptive Trade Practices Act, non-compliance With Sections 541 and 542 of the
Texas insurance Code, and unfair insurance practices. P|aintiff also asserts that
State Farm L|oyds breached the common law duty of good faith and fair dealing.
Basis for Removai
6. This Court has original jurisdiction under 28 U.S.C. § 1332 over this
civil action, and the action may be removed by Defendant pursuant to 28 U.S.C. §
1441(b), in that it is a civil action between citizens of different states, and the matter
in controversy exceeds the sum of $75,000.00 exclusive of interest and costs.
7. P|aintiff’s Originai Petition does not set forth the exact amount of

damages Plaintiff seeks in this action. Piaintiff has asserted numerous claims and

 

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Case 4:17-cv-0152O Document 1 Filed in TXSD on 05/17/17 Page 3 of 5

causes of action against Defenciant seeking not only actual damages, but also
statutory damages, statutory interest and attorneys’ fees. Therefore, based on
information and belief1 the amount in controversy in this action exceeds $75,000.00,
exclusive of interest and costs. See Chittick v. Farmers Ins. Exchange, 844 F.
Supp. 1153, 1155-56 (S.D. Tex. 1994).

Removai is Procequraliv Correct

8. Plaintiff filed her Original Petition on or about February 8, 2017. State
Farm received the citation and Plaintiff’s Original Petition on or about Aprii 21, 2017.
'i'herefore, State Farm has filed this Notice of Remova| Within the 30-day time period
required by 28 U.S.C. § 1446(b). Also, this Notice of Remova| is being fiied less
than one year after the commencement of the State Court Action.

9. Venue is proper in this district under 28 U.S.C. § 1446(a) because this
district and division embrace the place in Which the removed action Was pending
and because a substantial part of the events giving rise to the Plaintiff’s claims
allegedly occurred in this district.

10. Pursuant to 28 U.S.C. § 1446(a), all pleadings, processl orders, and ali
other fiiings in the state court action are attached to this Notice.

11. Pursuant to Loca| Ru|e 81, ai| documents required by that ruie to be
filed With this Notice of Removal are attached and indexed.

12. Pursuant to 28 U.S.C. § 1446(d), Defendant Wiil provide prompt Written
notice of the filing of this Notice of Remova| to Plaintiff, and Will file a notice With the

Cieri< of the 410th Judicia| District Court for l\/lontgomery County, Texas.

 

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Case 4:17-cv-0152O Document 1 Filed in TXSD on 05/17/17 Page 4 of 5

Respectfu|iy submitted,

By: /s/ Brian M. Chandier
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Rona|d P. Sci'\ramm

State Bar No. 17810385

Federa| Bar No. 174875

Ji|| D. Schein
State Bar No. 00787476 ATTORNEYS FOR DEFENDANT
Federal Bar No. 18838 STATE FARi\/i LLOYDS

CERT|F|CATE OF SERV|CE

l certify that a true and correct copy of the foregoing Was served on all parties
by and through their attorney(s) of record via the Court’s Eivi/ECF system on this
17th day of iViay 2017.

/s/ Brian M. Chano'ler
Brian i\/i. Chandler

 

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Case 4:17-cv-0152O Document 1 Filed in TXSD on 05/17/17 Page 5 of 5

|N THE UN|TED STATES DiSTRlCT COURT
FOR THE SOUTHERN DiSTR|CT OF TEXAS
HOUSTON DlVlSlON

 

 

l-lOLLlE ARNOLD §
Plaintiff, §
§
v. § CiVlL ACT|ON NO.
§
STATE FAR|V| LLOYDS §
Defendant. §
AFF|DAV|T
STATE OF TEXAS §
§
COUNTY OF HARR|S §

|, RONALD P. SCi-iRAi\/ii\/l, being duly sworn, state that i arn the attorney of
record for STATE FARi\/l LLOYDS in this litigation; that i have prepared and read the
foregoing Notice of Removal; and, that the factual matters set forth and contained
therein are to the best of my knowiedge and belief true and correct$.

 

 

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susschBEo AND sWonN ro'berore me on this itt/455 day or rviay, 2017.

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Mzi¢/JL j Q ”;/34,,§';/§_./)

BE"'NDA LJ°HNS°N - Notary Pub|ic in and for;t'he State of Texas

1 My_€ommission Expires

 

